






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



IN THE ESTATE OF:


ETHEL LADINE SWEZY STAMNITZ,


DECEASED.


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No. 08-08-00081-CV



Appeal from the


Probate Court No. 2


of El Paso County, Texas


(TC# 2006-P00369-2)


MEMORANDUM  OPINION


	Pending before the Court is an interlocutory appeal of an order rendered on February 19,
2008, by the Probate Court No. 2, El Paso County, Texas.  Appellant now asks  this Court to dismiss
this appeal with prejudice for the reason that the parties have agreed to certain facts making this
appeal moot.  Appellee has not objected to the motion, and there is no indication that this Court's
dismissal would prevent Appellee from seeking relief to which she would otherwise be entitled.  
See Tex. R. App. P. 42.1(a)(1).  We therefore grant the motion and dismiss the appeal with prejudice.
Because the motion to dismiss is silent as to how to share costs, the costs will be taxed against
Appellant.  See Tex. R. App. P. 42.1(d).


						KENNETH R. CARR, Justice

October 23, 2008


Before Chew, C.J., McClure, and Carr, JJ.


